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l Print your name and address on tha reverse ‘ El Addnaesea..-

so that we can return the card to you. ( . TD---"r.
l Attach this card !o the back of the mai|piece, B' ‘ ""t/~a d DE| V ry
or on the front if space permits. /ur'ru conf q ?

 

 

 

 

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